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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 13-cv-01295-REB-KLM

 UNITED STATES,

        Plaintiff,

 v.

 NELSON P. TODD, and
 ANDREA W. TODD,

      Defendants.
 __________________________

                                        ORDER SETTING
                             SCHEDULING/PLANNING CONFERENCE
                              (as amended effective December 1, 2011)


         The above captioned case has been referred to Magistrate Judge Kristen L. Mix pursuant
 to the Order of Reference [#4] entered by District Judge Robert E. Blackburn on May 20, 2013.

                                A. Date of Scheduling Conference

        IT IS HEREBY ORDERED that a Scheduling/Planning Conference pursuant to Fed. R. Civ.
 P. 16(b) shall be held on September 5, 2013, commencing at 10:30 a.m. in Courtroom C-204,
 Second Floor, Byron G. Rogers United States Courthouse, 1929 Stout Street, Denver, Colorado.

                 B. How to Request Different Date for Scheduling Conference

        If this date is not convenient for any counsel or pro se party, he or she shall file a motion to
 reschedule the conference to a more convenient date, and shall list dates in the motion which are
 available for all counsel and pro se parties. Absent exceptional circumstances, no request for
 rescheduling any appearance in this court will be considered unless a motion is made five (5)
 business days in advance of the date of appearance.

          C. How to Request Appearance By Telephone at Scheduling Conference

        If you wish to appear at the Scheduling Conference by telephone, you must file a motion
 seeking permission to appear by telephone and setting forth good cause for a telephonic
 appearance. No motion for any telephonic appearance will be granted unless it is filed at least five
 (5) business days in advance of the date of appearance.

                 D. Plaintiff’s Duty to Notify Parties of Scheduling Conference

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         The plaintiff shall notify all parties who have not entered an appearance as of the date of
 this Order of the date and time of the Scheduling/Planning Conference set forth above.

                     E. Parties’ Obligations Before Scheduling Conference

        1. Scheduling Order

         IT IS ORDERED that counsel and pro se parties in this case are to hold a pre-scheduling
 conference meeting at least twenty-one (21) days before the scheduling conference pursuant to
 Fed. R. Civ. P. 26(f)(1) and prepare a proposed Scheduling Order in accordance with Fed. R. Civ.
 P. 26(f), as amended. The instructions for completing the Scheduling Order may be found on the
 Court’s website (www.cod.uscourts.gov) with the scheduling order forms. Please be aware that
 effective December 1, 2011, there are TWO forms of Scheduling Order available on the
 Court’s website under the “Local Rules” tab: one form for non-administrative review cases
 and one form for ERISA cases. PLEASE USE THE CURRENT and CORRECT FORM FOR
 YOUR CASE.

        Pursuant to Fed. R. Civ. P. 26(d), as amended, no discovery is to be exchanged until after
 the Rule 26(f) conference meeting. The parties shall include the following language in Section 8,
 Paragraph (d) of their proposed Scheduling Order in non-administrative review cases:

        “Other Planning or Discovery Orders: No opposed discovery motions are to be filed with
        the Court until the parties comply with D.C.COLO.LCivR. 7.1A. If the parties are unable to
        reach agreement on a discovery issue after conferring, they shall arrange a telephone
        hearing with Magistrate Judge Mix regarding the issue. Both of these steps must be
        completed before any contested discovery motions are filed with the Court.”

        No later than five (5) calendar days prior to the Scheduling/Planning Conference, counsel
 and pro se parties shall submit their proposed Scheduling Order in compliance with the Court’s
 Electronic Case Filing Procedures which are also available on the Court’s website. An additional
 copy of the proposed scheduling order is to be provided to my chambers at
 Mix_Chambers@cod.uscourts.gov by e-mail attachment with the subject line stating “proposed
 Scheduling Order.”

         Parties who are pro se or do not have access to the internet may obtain the scheduling
 order form and instructions from the Clerk’s Office, Room A105, in the Alfred A. Arraj United States
 Courthouse, 901 19th Street, Denver, Colorado, 80294. Scheduling Orders prepared by parties
 not represented by counsel, or without access to electronic case filing, are to be submitted to the
 Clerk of the Court on paper.

        2. Mandatory Disclosures

        IT IS FURTHER ORDERED that on or before 14 days after the Rule 26(f) pre-scheduling
 conference meeting, the parties shall comply with the mandatory disclosure requirements of
 Fed.R.Civ.P. 26(a)(1), as amended.




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                                           F. Miscellaneous

       All out-of-state counsel shall comply with D.C.COLO.LCivR 83.3 before the
 Scheduling/Planning Conference.

        It is the responsibility of all counsel and pro se parties to notify the Court of his or her entry
 of appearance, withdrawal of appearance, substitution of counsel, or change of address, e-mail
 address, or telephone number by complying with the Court’s Electronic Case Filing Procedures or
 paper-filing the appropriate document with the Court.

        The Parties are further advised that they shall not assume that the Court will grant the relief
 requested in any motion. Failure to appear at a court-ordered conference or to comply with a court-
 ordered deadline which has not been vacated by court order may result in the imposition of
 sanctions under Fed. R. Civ. P. 16(f).

        Anyone seeking entry to the Byron G. Rogers United States Courthouse will be required to
 show valid photo identification. See D.C.COLO.LCivR 83.2B. Failure to comply with this
 requirement will result in denial of entry to the courthouse.

         DATED: May 20, 2013 at Denver, Colorado.




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